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   5
       Attorneys for Plaintiff Thrive Natural Care, Inc.
   6

   7                         UNITED STATES DISTRICT COURT
   8
                            CENTRAL DISTRICT OF CALIFORNIA
   9

  10    THRIVE NATURAL CARE, INC.,                 Case No. 2:21-cv-2022-DOC-KES
  11                    Plaintiff,                 PLAINTIFF THRIVE NATURAL
                                                   CARE, INC.’S APPLICATION TO
  12          v.                                   FILE DOCUMENTS UNDER SEAL
  13    LE-VEL BRANDS, LLC,                        [Filed concurrently with: Declaration of
                                                   Stephen McArthur; Redacted Version
  14                    Defendant.                 of Document Proposed to be Filed
                                                   Under Seal; Unredacted Version of
  15                                               Document Proposed to be Filed Under
                                                   Seal; and [Proposed] Order re
  16                                               Application for Leave to File Under
                                                   Seal]
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                                                                PLAINTIFF’S APPLICATION TO FILE
                                                                        DOCUMENTS UNDER SEAL
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   1         Pursuant to Local Rule 79-5.2.2, Plaintiff Thrive Natural Care, Inc.
   2   (“Thrive”) submits this application to file the unredacted version of a document
   3   under seal. Thrive intends to file the document at issue as Exhibit 1 to the
   4   Declaration of Stephen McArthur in support of Plaintiff’s Application for Leave to
   5   File Under Seal.
   6         Exhibit 1 is an unredacted copy of Thrive’s Reply in Support of Motion for
   7   Preliminary Injunction which contains information designated “HIGHLY
   8   CONFIDENTIAL-ATTORNEYS’ EYES ONLY” by Defendant. Counsel for
   9   Defendant has not consented to publicly filing the information that has been redacted
  10   from the public version of Exhibit 1. Pursuant to Local Rule 79-5.2.2(b), counsel for
  11   the parties communicated regarding Defendant’s confidentiality designations, and
  12   counsel for Defendant has not consented to publicly filing Exhibit 1 without
  13   redactions. See Declaration of Stephen McArthur ¶ 3.
  14         Thrive therefore respectfully requests that this Court grant this application to
  15   file Exhibit 1 under seal.
  16

  17   Dated: March 29, 2021                  Respectfully submitted
  18                                           THE MCARTHUR LAW FIRM, PC
  19
                                               By /s/ Stephen McArthur
  20
                                               Stephen C. McArthur
  21                                           Thomas E. Dietrich
  22                                           Attorneys for Plaintiff Thrive Natural Care,
                                               Inc.
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                                                                  PLAINTIFF’S APPLICATION TO FILE
                                                                          DOCUMENTS UNDER SEAL
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   1                              CERTIFICATE OF SERVICE
   2   Case Name: Thrive Natural Care, Inc. v. Le-Vel Brands, LLC.
       Case No.: 2:21-cv-2022-DOC-KES
   3

   4   IT IS HEREBY CERTIFIED THAT:
   5
              I, the undersigned, declare under penalty of perjury that I am a citizen of the
   6   United States over 18 years of age. My business address is 9465 Wilshire Blvd.,
       Ste. 300, Beverly Hills, CA 90212. I am not a party to the above-entitled action.
   7
                I have caused service of the following documents, described as:
   8
       PLAINTIFF THRIVE NATURAL CARE, INC.’S APPLICATION TO FILE
   9   DOCUMENTS UNDER SEAL
  10   on the following parties by electronically filing the foregoing on March 29, 2021,
       with the Clerk of the District Court using its ECF System, which electronically
  11   notifies them.
  12   KENDALL BRILL & KELLY LLP                            Attorneys for Defendant
       Alan Jay Weil (63153)
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       Shauna E. Woods (300339)
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       FINNEGAN, HENDERSON, FARABOW,
  17   GARRETT & DUNNER, LLP
       Mark Sommers (pro hac vice forthcoming)
  18   mark.sommers@finnegan.com
       Patrick Rodgers (pro hac vice forthcoming)
  19   patrick.rodgers@finnegan.com
       901 New York Avenue, NW,
  20   Washington, DC 20001-4413
       Telephone: (202) 408-4064
  21   Morgan E. Smith (SBN 293503)
       morgan.smith@finnegan.com
  22   3300 Hillview Avenue
       Palo Alto, CA 94304
  23   Telephone: (650) 849-6600
  24
       I declare under penalty of perjury under the laws of the State of California that the
  25   foregoing is true and correct.
  26    Date:     3/29/2021                By: /s/ Rick Brown
  27                                           Rick Brown
  28
                                                                  PLAINTIFF’S APPLICATION TO FILE
                                                                          DOCUMENTS UNDER SEAL
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